                  Case 16-34776             Doc         Filed 07/25/19                Entered 07/25/19 10:21:03                         Desc Main
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Fill in this information to identify the case:


Debtor 1              SHARON E HALFPENNY

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the Northern                             District of   Illinois
                                                                                           (State)

Case number           16-34776


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                         12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

     Name of creditor: Nationstar Mortgage LLC d/b/a Mr. Cooper                           Court claim no. (if known):         2-1

                                                                                          Date of payment change:
                                                                                          Must be at least 21 days after date of
                                                                                          this notice
                                                                                                                                            09/01/2019

 Last four digits of any number you
 use to identify the debtor’s account: XXXXXX8260                                         New total payment:
                                                                                          Principal, interest, and escrow, if any              $1076.00

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
       [ ] No

       [X] Yes.Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.Describe the basis
             for the change. If a statement is not attached, explain why:


           Current escrow payment:            $218.68                                                New escrow payment :       $499.12


Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate note?
       [X] No
       [ ] Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
             explain why:

              Current interest rate:                                        %                        New interest rate:                    %

              Current principal and interest payment:        $                                       New principal and interest payment:        $

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      [X] No
      [ ] Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
           (Court approval may be required before the payment change can take effect.)


           Reason for change:


           Current mortgage payment:                $                                                New mortgage payment:          $




Official Form 410S1                               Notice of Mortgage Payment Change                                                       page 1
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 Debtor 1           SHARON E HALFPENNY                                              Case number (if known) 16-34776
                    First Name Middle Name     Last Name



Part 4:          Sign Here



The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.


Check the appropriate box.


    [ ] I am the creditor.
    [X] I am the creditor’s authorized agent



I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



X     /s/Dana O'Brien                                                                   Date       7/8/2019
      Signature



Print:        Dana                                                    O'Brien              Title   Authorized Agent
               First Name             Middle Name                     Last Name

Company: McCalla Raymer Leibert Pierce, LLC




Address       1544 Old Alabama Road
               Number      Street


               Roswell                         GA                       30076
               City                            State                    ZIP Code


Contact phone       (312) 346-9088 X5188                                                   Email     Dana.OBrien@mccalla.com




Official Form 410S1                             Notice of Mortgage Payment Change                                      page 2
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                                                             Bankruptcy Case No.:     16-34776
  In Re:                                                     Chapter:                 13
                                                             Judge:                   DEBORAH L. THORNE

      SHARON E HALFPENNY




                                          CERTIFICATE OF SERVICE

            I, Dana O'Brien, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA 30076,
 certify:

            That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
 PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
 regular United States Mail, with proper postage affixed, unless another manner of service is expressly
 indicated:

 SHARON E HALFPENNY
 P.O. BOX 289
 AMBOY, IL 61310


 JOSEPH S DAVIDSON
 SULAIMAN LAW GROUP LTD                                                               (Served Via ECF Notification)
 2500 S HIGHLAND AVE, SUITE 200
 LOMBARD, IL 60148


 MARILYN O MARSHALL                                                                   (Served Via ECF Notification)
 224 SOUTH MICHIGAN STE 800,
 CHICAGO, IL 60604


 PATRICK S LAYNG
 219 S DEARBORN ST                                                                    (Served Via ECF Notification)
 ROOM 873
 CHICAGO, IL 60604




            I CERTIFY UNDER PENALTY OF        PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


Executed on:    July 03, 2019
                 7/25/2019              By:     /s/Dana O'Brien
                                                Dana O'Brien
                                                 Authorized Agent
               Case 16-34776              Doc        Filed 07/25/19            Entered 07/25/19 10:21:03                    Desc Main
                                                         Document              Page 4 of 7 05/20/2019                       OUR INFO
                                                                                                                            ONLINE:
                          8950 Cypress Waters Blvd.
                          Coppell, TX 75019                                                                                 www.mrcooper.com

                                                                                                                            YOUR INFO
                                                                                                                            LOAN NUMBER


                                                                                                                            CASE NUMBER
                                                                                                                            1634776

                                                                                                                            PROPERTY ADDRESS
  SHARON HALFPENNY                                                                                                          401 S GROVE AVE
                                                                                                                            APT 1A
  P.O BOX 289                                                                                                               OAK PARK,IL 60302
  AMBOY,IL 61310




    Dear SHARON HALFPENNY,

    Why am I receiving this letter?
    An escrow analysis was performed on the above referenced account.

    What do I need to know?
    Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow
    account disclosure statement is for informational purposes only and should not be construed as an
    attempt to collect a debt.

    What do I need to do?
    If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such
    attorney and provide such attorney’s name, address and telephone number to us.

    If you have any questions, please call our Bankruptcy Department at 877-343-5602. Our hours of
    operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at
    www.mrcooper.com for more information.

    Sincerely,

    Mr. Cooper
    Bankruptcy Department

    Enclosure: Escrow Account Disclosure Statement




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr. Cooper.
Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication
shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
collect a debt from you personally.



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                          8950 Cypress Waters Blvd.                                 Escrow Account Disclosure
                          Coppell, TX 75019                                         Statement

                                                                                        Customer Service: 888-480-2432
                                                                                        Monday through Thursday from 7 a.m. to 8 p.m. (CT),
                                                                                        Friday from 7 a.m. to 7 p.m. (CT) and Saturday from 8 a.m.
                                                                                        to 12 p.m. (CT)

                                                                                        Tax/Insurance: 866-825-9267
  SHARON HALFPENNY                                                                      Monday through Thursday from 8 a.m. to 9 p.m. (ET),
  P.O BOX 289                                                                           Friday from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
  AMBOY,IL 61310                                                                        to 3 p.m. (ET)

                                                                                        Your Loan Number:
                                                                                        Statement Date: 05/20/2019


       Why am I           Mr. Cooper completed an analysis of your escrow account to ensure that the account is funded correctly,
 receiving this?          determine any surplus or shortage, and adjust your monthly payment accordingly. Mr. Cooper maintains an
                          escrow cushion equal to two months' estimated taxes and insurance (unless limited by your loan documents or
                          state law). This measure helps to avoid a negative balance in the event of changing tax and insurance amounts.

 What does this           The escrow analysis is based on the assumption that your loan is current, and all past due payments have been
  mean for me?            made. Based on this assumption, your Escrow Account is projected to have more money than needed, resulting
                          in a surplus of $5,833.33. If you are behind on your payments this is not a true surplus.
                          If your account is current, the analysis below will show there to be a surplus, as well as changes in your monthly
                          escrow payment.

      What do I           Due to the status of your loan, we are retaining these funds in your Escrow Account per RESPA guidelines.
    need to do?           Please note that effective 09/01/2019, your new total monthly payment will be $1,076.00.

                                                                      Current Monthly                                                    New Monthly
  Total Payment                                                                                    Payment Changes
                                                                             Payment                                                         Payment
  PRINCIPAL AND INTEREST                                                      $576.88                             $0.00                       $576.88
  ESCROW                                                                      $218.68                           $280.44                       $499.12
  Total Payment                                                               $795.56                           $280.44                     $1,076.00
  See below for surplus calculation




  What is a Surplus? A surplus is the difference between the lowest projected balance and the minimum required
  balance of your account for the coming year, as shown below. Please see second page for coming year details.
                             Minimum Required Balance                                          Lowest Projected Balance

                                       $998.24                                                            $6,831.57

                                                             Surplus Amount $5,833.33
                                       Please see the Coming Year Projections table on the back for more details.

  Escrow Payment                                                       Current Annual                 Annual Change              Anticipated Annual
  Breakdown                                                             Disbursement                                                  Disbursement
  COUNTY TAX                                                                $3,282.62                         $2,706.76                    $5,989.38
  Annual Total                                                              $3,282.62                         $2,706.76                    $5,989.38
  If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or
  insurance provider. For more information about your loan, please sign in at www.mrcooper.com.



The change in your escrow payment may be based on one or more of the following factors:
Payment(s)                                            Taxes                                              Insurance
● Monthly payment(s) received were less than          ● Tax rate and/or assessed value changed           ● Premium changed
  or greater than expected                            ● Exemption status lost or changed                 ● Coverage changed
● Monthly payment(s) received earlier or later        ● Supplemental/Delinquent tax paid                 ● Additional premium paid
  than expected                                       ● Paid earlier or later than expected              ● Paid earlier or later than expected
● Previous overage returned to escrow                 ● Tax installment not paid                         ● Premium was not paid
● Previous deficiency/shortage not paid entirely      ● Tax refund received                              ● Premium refund received
                                                      ● New tax escrow requirement paid                  ● New insurance escrow requirement paid
                                                                                                         ● Force placed insurance premium paid




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Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication
shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
collect a debt from you personally.




                                                                                                                                                        DELQ
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                                             Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 03/19 through 08/19. This statement itemizes your actual escrow
account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and balances for
the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior year. By
comparing the actual escrow payment with the previous projections listed, you can determine where a difference may have occurred. When
applicable, the letter "E" beside anamount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.

Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal Law
(RESPA), the lowest monthly balance in your escrow account should be no less than $998.24 or 1/6th of the total annual projected disbursement
from your escrow account, unless your mortgage documents or state law specifies otherwise. Your projected estimated lowest account balance of
$6,831.57 will be reached in August 2020. When the minimum required balance is subtracted from your lowest projected balance, an Escrow Surplus
results in the amount of $5,833.33. These amounts are indicated with an arrow (<).

This escrow analysis is based on the assumptionthat all escrow advances made on your loan prior to your bankruptcy filing date are
included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due
after the filing of your bankruptcy case.

           Projected       Actual           Projected        Actual                   Description                 Projected                Actual
 Month     Payment        Payment         Disbursement    Disbursement                                             Balance                Balance
                                                                                          Start                       $0.00                 $0.00
 03/19          $0.00      $408.61               $0.00       $4,837.15 *                Esc pay adj                    $0.00            ($4,428.54)
 05/19          $0.00    $13,478.02   E          $0.00           $0.00       Anticipated Payments 08/15-05/19          $0.00              $9,049.48
 05/19          $0.00      $408.61    *          $0.00           $0.00                                                 $0.00              $9,458.09
 06/19          $0.00      $218.68    E          $0.00           $0.00                                                 $0.00              $9,676.77
 07/19          $0.00      $218.68    E          $0.00           $0.00                                                 $0.00              $9,895.45
 08/19          $0.00      $218.68               $0.00       $3,282.62 E              COUNTY TAX                       $0.00              $6,831.51
 Total         $0.00    $14,951.28              $0.00        $8,119.77                    Total                       $0.00             $6,831.51
           Projected                        Projected                                 Description                   Current     Required Balance
 Month     Payment                        Disbursement                                                             Balance             Projected
                                                                                          Start                   $6,831.51              $998.18
 09/19       $499.12                             $0.00                                                             $7,330.63             $1,497.30
 10/19       $499.12                             $0.00                                                             $7,829.75             $1,996.42
 11/19       $499.12                             $0.00                                                             $8,328.87             $2,495.54
 12/19       $499.12                             $0.00                                                             $8,827.99             $2,994.66
 01/20       $499.12                             $0.00                                                             $9,327.11             $3,493.78
 02/20       $499.12                             $0.00                                                             $9,826.23             $3,992.90
 03/20       $499.12                         $2,706.76                                COUNTY TAX                   $7,618.59             $1,785.26
 04/20       $499.12                             $0.00                                                             $8,117.71             $2,284.38
 05/20       $499.12                             $0.00                                                             $8,616.83             $2,783.50
 06/20       $499.12                             $0.00                                                             $9,115.95             $3,282.62
 07/20       $499.12                             $0.00                                                             $9,615.07             $3,781.74
 08/20       $499.12                         $3,282.62                                COUNTY TAX                   $6,831.57              $998.24<
 Total     $5,989.44                         $5,989.38                                    Total                   $6,831.57               $998.24
Bankruptcy Adjustment - The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement
may contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof
of claim to be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the
escrow account as allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount
of escrow funds owed in the proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be
collected through the escrow shortage or surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the
proof of claim escrow funds are listed as a credit to reach the required minimum account balance.

You will receive an Annual Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle.
However, you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your
previous servicer, please refer to that statement for comparison purposes. If you have any questions, your Dedicated Loan Specialist is Latory Lakes
and can be reached at (866) 316-2432 or via mail at the address listed above. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m.
(CT). Visit us on the web at www.mrcooper.com for more information.

Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
